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 Fill in this information to identify your case:

  Debtor 1                  Sandra                  Rosemary             Oldenburg
                           First Name               Middle Name         Last Name
                                                                                                                 Check if this is:
                                                                                                                 ✔ An amended filing
                                                                                                                 ❑
  Debtor 2                  Lee                     Michael              Oldenburg
  (Spouse, if filing)      First Name               Middle Name         Last Name
                                                                                                                 ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                              District of Colorado
                                                                                                                      MM / DD / YYYY
  Case number                     23-13858 JGR
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?

     ❑ No. Go to line 2.
     ✔ Yes. Does Debtor 2 live in a separate household?
     ❑
             ✔ No
             ❑
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ❑ No
     Do not list Debtor 1 and                  ✔ Yes. Fill out this information
                                               ❑                                        Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.
                                                                                        Child                               11                       ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                        Child                               9                        ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                      4.                   $3,115.13


     If not included in line 4:
                                                                                                                                4a.                        $0.00
     4a. Real estate taxes
                                                                                                                                4b.                        $0.00
     4b. Property, homeowner's, or renter's insurance
                                                                                                                                4c.
     4c. Home maintenance, repair, and upkeep expenses                                                                                                     $0.00
                                                                                                                                4d.
     4d. Homeowner's association or condominium dues                                                                                                       $0.00




Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1
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 Debtor 1             Sandra                Rosemary              Oldenburg
 Debtor 2             Lee                   Michael               Oldenburg                                  Case number (if known) 23-13858 JGR
                      First Name            Middle Name           Last Name


                                                                                                                            Your expenses

 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.                        $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.                    $250.00

       6b. Water, sewer, garbage collection                                                                        6b.                    $111.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                    $499.00

       6d. Other. Specify:                                                                                         6d.                       $0.00

 7.    Food and housekeeping supplies                                                                              7.                   $1,500.00

 8.    Childcare and children’s education costs                                                                    8.                        $0.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                       $50.00

 10. Personal care products and services                                                                           10.                      $60.00

 11.   Medical and dental expenses                                                                                 11.                      $50.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                    $400.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                    $100.00

 14. Charitable contributions and religious donations                                                              14.                       $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.

                                                                                                                   15a.                   $350.00
       15a. Life insurance
       15b. Health insurance                                                                                       15b.                      $0.00

       15c. Vehicle insurance                                                                                      15c.                   $450.00

       15d. Other insurance. Specify:                                                                              15d.                      $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify: Vehicle taxes                                                                                      16.                      $50.00

 17. Installment or lease payments:
                                                                                                                   17a.                 $1,150.00
       17a. Car payments for Vehicle 1                 2019 Ford F-150
                                                                                                                   17b.                      $0.00
       17b. Car payments for Vehicle 2
                                                                                                                   17c.                      $0.00
       17c. Other. Specify:                                                                                        17d.
                                                                                                                                             $0.00
       17d. Other. Specify:

 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                       $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                       $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                            20a.                      $0.00
       20b. Real estate taxes                                                                                      20b.                      $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                      $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                      $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.
                                                                                                                                             $0.00
Official Form 106J                                                          Schedule J: Your Expenses                                                page 2
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 Debtor 1            Sandra              Rosemary              Oldenburg
 Debtor 2            Lee                 Michael               Oldenburg                                    Case number (if known) 23-13858 JGR
                     First Name          Middle Name           Last Name



 21. Other. Specify:                   See Additional Page                                                        21.    +               $160.00

 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.                 $8,295.13

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                     $0.00

      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.                 $8,295.13


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.                 $9,635.75

      23b. Copy your monthly expenses from line 22c above.                                                        23b.   –             $8,295.13

      23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                                23c.                 $1,340.62




 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑ Yes.




Official Form 106J                                                       Schedule J: Your Expenses                                                 page 3
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 Debtor 1            Sandra       Rosemary      Oldenburg
 Debtor 2            Lee          Michael       Oldenburg                           Case number (if known) 23-13858 JGR
                     First Name   Middle Name   Last Name




                                                                                                                          Amount


   21. Other
       Son's haircuts                                                                                                      $60.00
       Home alarm system                                                                                                  $100.00




Official Form 106J                                      Schedule J: Your Expenses                                             page 4
